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             EXHIBIT B
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                            UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF MICHIGAN

MARK GOTTSLEBEN, individually and on behalf
of all others similarly situated,                      CASE NO. 1:22-cv-00866-HYJ-RSK
                                                       CLASS ACTION
                              Plaintiff,
                                                       Chief Judge Hala Y. Jarbou
        vs.                                            Magistrate Judge Ray Kent

INFORMA MEDIA, INC. F/K/A PENTON MEDIA,
INC.,                                                             ANSWER AND
                                                             AFFIRMATIVE DEFENSES
                              Defendant.




        Defendant Informa Media, Inc., by and through its attorneys, hereby answers the averments

set forth in Plaintiff Mark Gottsleben’s (“Plaintiff”) First Amended Class Action Complaint and

Demand for Jury Trial (Dkt. No. 16, the “Complaint”), as numbered herein, and asserts affirmative

defenses as follows:

                                           ANSWER

        1.      Defendant Informa Media, Inc. f/k/a Penton Media, Inc. (“Informa”) rented,

exchanged, and/or otherwise disclosed detailed information about Plaintiff’s Michigan Farmer
magazine subscription to data aggregators, data appenders, data cooperatives, and list brokers,

among others, which in turn disclosed his information to aggressive advertisers, political

organizations, and non-profit companies. As a result, Plaintiff has received a barrage of unwanted

junk mail. By renting, exchanging, and/or otherwise disclosing Plaintiff’s Private Reading

Information (defined below) during the relevant pre-July 31, 2016 time period1, Informa violated

1      The statutory period for this action is six years, which is 2,190 days. See M.C.L.
§ 600.5813. The applicable six-year limitation period was tolled for 101 days pursuant to
Executive Orders issued by the Governor of Michigan during the COVID-19 pandemic. See Mich.
Executive Order No. 2020-58 (“[A]ll deadlines applicable to the commencement of all civil and
probate actions and proceedings, including but not limited to any deadline for filing an initial

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Michigan’s Preservation of Personal Privacy Act, H.B. 5331, 84th Leg. Reg. Sess., P.A. No. 378,

§§ 1-4 (Mich. 1988), id. § 5, added by H.B. 4694, 85th Leg. Reg. Sess., P.A. No. 206, § 1 (Mich.

1989) (the “PPPA”).2

        ANSWER:             Informa denies knowledge or information sufficient to form a belief as to

whether it disclosed information about Plaintiff’s magazine subscription to list brokers because the


pleading . . . are suspended as of March 10, 2020 and shall be tolled until the end of the declared
states of disaster and emergency.”); Mich. Supreme Court Administrative Order No. 2020-3 (“For
all deadlines applicable to the commencement of all civil and probate case types, including but not
limited to the deadline for the initial filing of a pleading . . . any day that falls during the state of
emergency declared by the Governor related to COVID-19 is not included.”); Mich. Executive
Order No. 2020-122 (ending tolling period on June 20, 2020); Mich. Supreme Court
Administrative Order No. 2020-18 (same); see also Straus v. Governor, 592 N.W.2d 53, 57 (Mich.
1999) (under Michigan law “the Governor’s action [in issuing an Executive Order] has the status
of enacted legislation”); Blaha v. A.H. Robins & Co., 708 F.2d 238, 239 (6th Cir. 1983) (“Pursuant
to the Erie doctrine, state statutes of limitations must be applied by federal courts sitting in
diversity.”).
        The applicable six-year limitation period was additionally tolled for 57 days, from June 21,
2022 through August 17, 2022, during the pendency of the action DelValle v. Informa Media, Inc.,
1:22-cv-00132-HYJ-RSK (W.D. Mich.) (putative class action brought on behalf of the same
putative class in this case, filed June 21 2022 and dismissed on August 17, 2022). See Cowles v.
Bank West, 719 N.W.2d 94, 101 (Mich. 2006) (explaining that, under Michigan law, “[t]he statute
of limitations is tolled as to all persons within the class described in the complaint on the
commencement of an action asserting a class action.” (citing M.C.R. § 3.501(F)(1)); Boelter v.
Hearst Commnc’ns Inc., 269 F. Supp. 3d 172, 187-89 (S.D.N.Y. 2017) (holding that M.C.R.
3.501(F)(1) applies in federal court, and that the statute of limitations for the PPPA claims of
putative class members is tolled by the filing of a putative class action); see also Philips v. Ford
Motor Co., 435 F.3d 785, 787 (7th Cir. 2006) (“[C]ourts thus disregard the jurisdictional void that
is created when the named plaintiffs’ claims are dismissed and, shortly afterwards, surrogates step
forward to replace the named plaintiffs.”).
        Thus, the applicable statutory period for this action is April 15, 2016 (2,348 days prior to
the commencement of the instant action on September 19, 2022) through July 30, 2016.
2       In May 2016, the Michigan legislature amended the PPPA. See S.B. 490, 98th Leg., Reg.
Sess., P.A. No. 92 (Mich. 2016) (codified at M.C.L. § 445.1711, et seq.). The May 2016
amendment to the PPPA, which became effective on July 31, 2016, does not apply retroactively
to claims that accrued prior to its July 31, 2016 effective date. See Boelter v. Hearst Commc ‘ns,
Inc., 192 F. Supp. 3d 427, 439-41 (S.D.N.Y. 2016) (holding that “the amendment to the [PP]PA
does not apply to Plaintiffs’ claims, and the Court will assess the sufficiency of those claims under
the law as it was when Plaintiffs’ claims accrued.”) (citing Landgraf v. USIFilm Prods., 511 U.S.
224, 286 (1994)). Because the claims alleged herein accrued, and thus vested, prior to the July 31,
2016 effective date of the amended version of the PPPA, the preamendment version of the PPPA
applies in this case. See Horton v. GameStop, Corp., 380 F. Supp. 3d 679, 683 (W.D. Mich. 2018).

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potential data no longer exists, and thus denies the allegations. Informa also lacks knowledge or

information sufficient to form a belief as to whether Plaintiff received a “barrage of junk mail”, and

thus denies the allegations. Informa additionally denies that any purported junk mail was sent to

Plaintiff because of Informa’s alleged unauthorized disclosure of subscription information to third

parties. Informa denies all other factual allegations contained in this paragraph. Information further

states that the remaining allegations in this paragraph state legal conclusions to which no response is

required. To the extent a response is required, the allegations are all denied.

         2.     Documented evidence confirms these facts. For example, Informa, through list
broker NextMark, Inc. (“NextMark”), offers to provide renters access to the mailing list titled “US

Agriculture Masterfile (formerly Agbase) from Informa Mailing List”, which contains the Private

Reading Information of all 2,216,763 of Informa’s active and recently expired U.S. subscribers at

a base price of “$150.00/M [per thousand],” (i.e., 15.0 cents apiece), as shown in the screenshot

below:




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See Exhibit A hereto. The same or a substantially similar “data card” as the one shown above,

with the same or similar rates and advertised demographic and personal information about each

U.S. based purchaser of a subscription as listed above, was also publicly advertised by Informa as

far back as the beginning of 2015 and throughout the entire pre-July 31, 2016 time period – thus

demonstrating that Informa was renting, selling, exchanging, and otherwise disclosing all of its

customers’ Personal Reading Information (including Plaintiff’s and all Class members’ Personal

Reading Information) to third parties during the relevant pre- July 31, 2016 time period.

        ANSWER:             Informa cannot verify the authenticity of the screenshot in this paragraph as
purporting to be what was available on a third-party website at any given time. Moreover, Informa

denies that this third-party material demonstrates that Informa made any such information available

to the public—it did not. Informer denies that this purported evidence demonstrates any improper

disclosure of personal reading information at any time. Therefore, denied. As limited exception,

Informa admits that a document which is alleged to be a Nextmark Data Card is annexed as Exhibit

A to the Complaint.

        3.      Up until November 2012, Michigan Farmer magazine was owned and operated by

Farm Progress, a division of Fairfax Media. In November 2012, Penton Media, Inc. (“Penton”)

purchased Farm Progress, including Michigan Farmer magazine, from Fairfax Media. See Farm

Progress, “Penton Media Buys Farm Progress From Fairfax Media”(Nov. 13, 2012), available at

https://www.farmprogress.com/issues/penton-media-buys-farm-progress-fairfax-               media    (last

visited Dec. 26, 2022), a copy of which is attached hereto as Exhibit B.

        ANSWER:             Informa admits only that Penton Media, Inc. purchased Farm Progress,

including Michigan Farmer, from Fairfax Media in 2012. Informa denies each and every other

allegation including to the extent that it is based upon an annexed document, whose authenticity is

disputed and which speaks for itself. Informa respectfully refers the court to that document for the

complete and accurate contents and context thereof.

        4.      On March 26, 2014, Penton “announced that it has formed Penton SmartReach™,

a division focusing exclusively on the development, management and delivery of targeted data and

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subscriber information to help direct marketers identify, reach and activate more prospects and

generate more effective leads.          The database has 16 million business-to-business records,

representing 7.8 million unique businesses.” PRNewswire, “Penton Launches ‘Penton

SmartReach’ Division” (Mar. 26, 2014), available at https://www.prnewswire.com/news-

releases/penton-launches-penton-smartreach-division-252433931.html (last visited Dec. 26,

2022), a copy of which is attached hereto as Exhibit C. Simply put, Penton’s SmartReach service

was “[f]ocused on developing, managing and delivering targeted data and subscriber info to

marketers[.]” Chief Marketer, “New Penton Database Offers Targeted B2B Data” (Apr. 8, 2014),
available at https://www.chiefmarketer.com/new-penton-database-offers-targeted-b2b-data/ (last

visited Dec. 26, 2022), a copy of which is attached hereto as Exhibit D. In connection with the

launch of SmartReach, Penton “added 11 new staff members, including seasoned data pros Karl

Renelt, director of online media, and Rosalie Garcia, strategic list sales manager, in order to

provide the more sophisticated data analysis and targeted applications needed for the more

sophisticated marketing services being offered within the vertical markets, as well as cross

markets.” Id.

        ANSWER:             Informa admits only that it (via its predecessor, Penton Media, Inc.) had a

SmartReach division during the referenced period. Informa denies each and every other allegation to

the extent that it is based upon an annexed document, the contents of which are hearsay. Informa

respectfully refers the court to that document for the complete and accurate contents and context

thereof. Except as specifically admitted, Informa denies each and every other allegation in this

paragraph, including that the incomplete quotes from a third-party document have any bearing on the

issues in this case.

        5.      Indeed, the creation of the SmartReach division was motivated by a desire to stop

using “list vendors” to sell, rent, and exchange its subscribers’ Personal Reading Information, and

to instead sell, rent, and exchange that data to third parties on its own. As reported at the time,

“[t]his division capitalizes on Penton’s strengths -- data, user engagement and targeted marketing

-- by managing its data in-house instead of outsourcing its subscriber and data information to list

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vendors as it had done previously.” Ex. C hereto. Warren N. Bimblick, Senior Vice President,

Strategy and Business Development at Penton, explained that “[w]e view this shift as very timely

and an opportunity to vastly expand our ability to help endemic and non-endemic direct marketers

utilize our highly engaged [subscriber] file[.]” Id. And Joann Kropp, Vice President, Customer

Data Solutions at Penton, “whose career, including more than five years at Penton, includes the

successful development of enhanced business intelligence and customer prospecting/marketing

products,” elaborated further: “Penton’s more nimble and strategic approach to direct marketing

puts us closer to clients by offering industry expertise and integrated marketing solutions that
create better engagement and deliver better click through rates that list vendor[]s can’t provide.”

Id. Kropp further explained that “Penton has built an experienced in-house team focused on

driving maximum value from its data assets, developing data products and marketing solutions,

like day- parting, that are based on user habits and strategic marketing tools.” Id.

        ANSWER:             Informa denies the allegations in this paragraph, including as applied to the

claims in this case, as well as Plaintiff’s summary of the referenced documents.

        6.         On December 10, 2015, Penton announced the launch of its SmartReach

“Audience Extension” service, which at the time was described as “provid[ing] [Penton’s clients]

the ability to precisely target audiences through deep data sets that provide intelligence across

more than 1,000 key firmographic and demographic differentiators. Marketers can hypertarget ad

messages to reinforce branding and drive greater conversion for email and website campaigns

through a best practices approach, so ads are displayed wherever a potential customer travels

online.” PRNewswire, “New Penton SmartReach™ Audience Extension Provides Expanded

Reach        For    Business-To-Business        Marketers”     (Dec.     10,    2015),    available      at

https://www.prnewswire.com/news-releases/new-penton-smartreach-audience-                      extension-

provides-expanded-reach-for-business-to-business-marketers- 300191123.html (last visited Dec.

26, 2022), a copy of which is attached hereto as Exhibit E. Penton was able to provide these

services by utilizing data appending and aggregation services provided by other companies, which



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necessarily required Penton to transmit its entire database of all of its subscribers’ Personal

Reading Information to third party data companies for enhancement.

        ANSWER:             Informa admits only that on December 10, 2015, it launched its SmartReach

“Audience Extension” service. Except as specifically admitted, Informa denies each and every other

allegation in this paragraph, including as applied to the claims in this case, as well as Plaintiff’s

summary of the referenced documents. Informa denies that Plaintiff’s characterization of the Exhibit

E is accurate and specifically denies that Penton used data appending and aggregation services

provided by other companies and/or transmitted its entire database of all of its subscribers personal

reading information to those third parties.

        7.      Penton’s SmartReach division, as well as its Audience Extension service, remained

active from its creation in 2014 until at least as recently as its acquisition by Informa in September

2016. “As of 2016, the database had grown to some 20 million records.” Wikipedia, “Penton

(company)”, available at https://en.wikipedia.org/wiki/Penton_(company) (last visited Dec. 26,

2022), a copy of which is attached hereto as Exhibit F. Thus, Penton’s SmartReach division was

actively selling, renting, exchanging, and otherwise disclosing its entire database of its subscribers’

Personal Reading Information (including Plaintiff’s and all Class members’ Personal Reading

Information) to numerous third parties throughout the relevant pre-July 31, 2016 time period.

        ANSWER:             Informa admits only that Penton had a division called SmartReach which

existed in 2014 and through 2016. Except as specifically admitted, Informa denies each and every

other allegation in this paragraph and denies the accuracy and the authenticity of the content in Exhibit

F.

        8.      It is therefore unsurprising that, during the relevant pre-July 31, 2016 time period,

Penton admitted in its Privacy Policy that it discloses the Personal Reading Information of all of

its subscribers to its various publications, which included Michigan Farmer magazine, to data

appenders, data aggregators, and other third parties. See Penton, “Privacy Policy (last revised:

March 11, 2015)”, version in effect on July 10, 2016, available at https://web.archive.org/web/

20160710161658/http://www.penton.com/privacy-policy/, a copy of which is attached hereto as

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Exhibit G (admitting to transmitting the Personal Reading Information of its subscribers to, and

receiving enhanced versions back from, data appenders and aggregators by stating that “[w]e also

may receive information about you from external sources that are not affiliated with Penton and

add that to the information you have provided to us.               For example, we may expand our

communities by acquiring names and contact details from other sources that compile contact

information”; and admitting to disclosing “contact data, including email addresses, available in

certain of our subscription-only databases” to third parties).

        ANSWER:             Informa denies the allegations in this paragraph, including as applied to the
claims in this case, as well as Plaintiff’s summary of the referenced Privacy Policy and the documents.

The annexed document speaks for itself. Informa respectfully refers the court to that document for

the complete and accurate contents and context thereof.

        9.      In September 2016, Informa PLC acquired Penton Media, Inc., including Michigan

Farmer magazine, and subsequently changed the name of Penton Media, Inc. to Informa Media,

Inc. See Folio Magazine, “Informa Acquires Penton for $1.56 Billion” (Sept. 15, 2016), available

at https://archive.foliomag.com/informa-acquires-penton-1-56-billion/ (last visited Dec. 26,

2022), a copy of which is attached hereto as Exhibit H; New York Department of State, Division

of Corporations, Entity Name History for Informa Media, Inc. (last accessed Dec. 26, 2022), a

copy of which is attached hereto as Exhibit I. Thus, during the relevant pre-July 31, 2016 time

period, Michigan Farmer magazine was operated by Penton Media, Inc., now known as Informa

Media, Inc., the defendant in this case.

        ANSWER:             Informa admits only that it acquired Penton Media, Inc., including Michigan

Farmer magazine, and subsequently changed the name of Penton Media, Inc. to Informa Media, Inc.

Except as specifically admitted, Informa denies each and every other allegation in this paragraph and

states that the annexed documents speaks for themselves. Informa respectfully refers the court to that

document for the complete and accurate contents and context thereof.

        10.     As a result of Informa (at the time known as Penton, but hereinafter referred to by

its current name “Informa”) disclosing Plaintiff’s Private Reading Information during the relevant

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 pre-July 31, 2016 time period, Plaintiff saw a dramatic uptick of junk mail in his mailbox following

 his purchase of a subscription to Michigan Farmer over the same time period

         ANSWER:             Informa denies each and every allegation in this paragraph.

         11.     By renting, exchanging, or otherwise disclosing the Private Reading Information of

 all of its Michigan-based subscribers during the relevant pre-July 31, 2016 time period, Informa

 violated the PPPA. Subsection 2 of the PPPA provides:
                    [A]        person, or an employee or agent of the
                    person, engaged in the business of selling at
                    retail, renting, or lending books or other written
                    materials . . . shall not disclose to any person,
                    other than the customer, a record or information
                    concerning the purchase . . . of those materials by
                    a customer that indicates the identity of the
                    customer.
 PPPA § 2.
         ANSWER:             Informa denies each and every allegation in this paragraph, other than the
 quoted content of Subsection 2 of the PPPA, which speaks for itself.

         12.     Accordingly, Plaintiff brings this First Amended Class Action Complaint against

 Informa for its intentional and unlawful disclosure of its customers’ Private Reading Information

 in violation of the PPPA.

         ANSWER:             Informa admits only that Plaintiff commenced this lawsuit alleging violations

 of the PPPA, but denies any violations thereof. Informa denies each and every other allegation in this

 paragraph.
                                          NATURE OF THE ACTION

         13.     To supplement its revenues, Informa rents, exchanges, or otherwise discloses all of

 its customers’ information—including their full names, titles of publications subscribed to, and

 home addresses (collectively “Private Reading Information”), as well as myriad other categories

 of individualized data and demographic information such as job title, number of employees,

 livestock type, sales volume, and farm annual income—to data aggregators, data appenders, data

 cooperatives, and other third parties without the written consent of its customers. Informa


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 continuously engaged in these same practices (disclosing its entire database of its customers’

 Personal Reading Information to third parties, at least as frequently as once a month) since at least

 as far back as 2015 through the present, including for the entire pre-July 31, 2016 time period.

         ANSWER:             Informa denies each and every allegation in this paragraph.

         14.     By renting, exchanging, or otherwise disclosing – rather than selling – its

 customers’ Private Reading Information, Informa is able to disclose the information time and time

 again to countless third parties.

         ANSWER:             Informa denies each and every allegation in this paragraph.
         15.     Informa’s disclosure of Private Reading Information and other individualized

 information is not only unlawful, but also dangerous because it allows for the targeting of

 particularly vulnerable members of society.

         ANSWER:             Informa denies each and every allegation in this paragraph.

         16.     While Informa profits handsomely from the unauthorized rental, exchange, and/or

 disclosure of its customers’ Private Reading Information and other individualized information, it

 does so at the expense of its customers’ statutory privacy rights (afforded by the PPPA) because

 Informa does not obtain its customers’ written consent prior to disclosing their Private Reading

 Information.

         ANSWER:             Informa denies each and every allegation in this paragraph.

                                                   PARTIES

         17.     Plaintiff Mark Gottsleben is a natural person and citizen of the State of Michigan

 and resides in Fife Lake, Michigan. Plaintiff was a subscriber to Michigan Farmer magazine,

 including prior to July 31, 2016. Michigan Farmer magazine is published by Informa. While

 residing in, a citizen of, and present in Michigan, Plaintiff purchased his subscription to Michigan

 Farmer magazine directly from Informa. Prior to and at the time Plaintiff subscribed to Michigan

 Farmer, Informa did not notify Plaintiff that it discloses the Private Reading Information of its

 customers, and Plaintiff has never authorized Informa to do so. Furthermore, Plaintiff was never

 provided any written notice that Informa rents, exchanges, or otherwise discloses its customers’

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 Private Reading Information, or any means of opting out. Since subscribing to Michigan Farmer,

 and during the relevant pre-July 31, 2016 time period, Informa disclosed, without the requisite

 consent or prior notice, Plaintiff’s Private Reading Information to data aggregators, data

 appenders, and/or data cooperatives, who then supplemented that information with data from their

 own files.    Moreover, during that same period, Informa rented or exchanged mailing lists

 containing Plaintiff’s Private Reading Information to third parties seeking to contact Informa

 subscribers, without first obtaining the requisite written consent from Plaintiff or even giving him

 prior notice of the rentals, exchanges, and/or other disclosures.
         ANSWER:             Informa admits only that Mark Gottsleben is a natural person and resident of

 Michigan; that he was a subscriber to Michigan Farmer magazine including prior to July 13, 2016,

 and that Informa publishes Michigan Farmer. Informa lacks knowledge or information sufficient to

 form a belief as to whether Mr. Gottsleben purchased his subscription while residing in Michigan,

 and thus denies the allegations in the fourth sentence of paragraph 17. Except as specifically admitted,

 Informa denies each and every other allegation in this paragraph.

         18.     Defendant Informa Media, Inc. f/k/a Penton Media, Inc. is a Delaware corporation

 with its headquarters and principal place of business in New York, New York. Informa does

 business throughout Michigan and the entire United States. Informa is the publisher of various

 magazines, newsletters, and other publications, including but not limited to American

 Agriculturist, Beef, Beef Vet, California Farmer, Corn & Soybean Digest, Dakota Farmer, Delta

 Farm Press, Feedstuffs, Farm Industry News, Farm Futures, Indiana Prairie Farmer, Kansas

 Farmer, Mid-South Farmer, Missouri Ruralist, Nebraska Farmer, National Hog Farmer, Ohio

 Farmer, Prairie Farmer, Carolina-Virginia Farmer, Southeast Farm Press, Southern Farmer,

 Southwest Farm Press, The Farmer, The Farmer-Stockman, Wallaces Farmer, Western Farm

 Press, Western Farmer- Stockman, Wisconsin Agriculturist, and Michigan Farmer.

         ANSWER: Informa admits only that it is a Delaware corporation with its headquarters and

 principal place of business in New York, New York, and that it publishes the following magazines

 and newsletters (but not all in paper form): American Agriculturist, Beef, Beef Vet, California Farmer,

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 Corn & Soybean Digest, Dakota Farmer, Delta Farm Press, Feedstuffs, Farm Industry News, Farm

 Futures, Hay & Forage Grower, Indiana Prairie Farmer, Kansas Farmer, Mid-South Farmer,

 Missouri Ruralist, Nebraska Farmer, National Hog Farmer, Ohio Farmer, Prairie Farmer,

 Carolina-Virginia Farmer, Southeast Farm Press, Southern Farmer, Southwest Farm Press, The

 Farmer, The Farmer-Stockman, Wallaces Farmer, Western Farm Press, Western Farmer- Stockman,

 Wisconsin Agriculturist, and Michigan Farmer. Except as specifically admitted, Informa denies each

 and every other allegation in this paragraph.
                                        JURISDICTION & VENUE

         19.     This Court has subject matter jurisdiction over this civil action pursuant to 28

 U.S.C. § 1332(d) because there are more than 100 class members and the aggregate amount in

 controversy exceeds $5,000,000, exclusive of interest, fees, and costs, and at least one Class

 member is a citizen of a state different from Defendant.

         ANSWER:             This paragraph states legal conclusions to which no response is required. To

 the extent a response is required, denied. Further answering, Informa denies that this action should be

 certified as a class action and denies the alleged amount in controversy.

         20.     The Court has personal jurisdiction over Informa because Plaintiff’s claims arose

 in substantial part from actions and omissions in Michigan, including from Plaintiff’s purchase of

 a Michigan Farmer subscription in Michigan, Informa’s direction of such Michigan Farmer

 subscription into Michigan, and Informa’s failure to obtain Plaintiff’s written consent in Michigan

 prior to disclosing his Private Reading Information, including his residential address in Michigan,

 to another person, the effects of which were felt from within Michigan by a citizen and resident of

 Michigan. Personal jurisdiction also exists over Informa in Michigan because Informa conducts

 substantial business within Michigan, such that Informa has significant, continuous, and pervasive

 contacts with the State of Michigan.

         ANSWER:             This paragraph states legal conclusions to which no response is required. To

 the extent a response is required, Informa denies that the court has personal jurisdiction over it for the



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 reasons stated in this paragraph. That is, Informa denies the factual averments forming the basis of

 the legal conclusion.

         21.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Plaintiff

 resides in this judicial District, Informa does substantial business in this judicial District, Informa

 is subject to personal jurisdiction in this judicial District, and a substantial part of the events giving

 rise to Plaintiff’s claims took place within this judicial District.

         ANSWER:             This paragraph states legal conclusions to which no response is required. To

 the extent a response is required, Informa denies the factual allegations forming the purported bases

 for proper venue.

                                          FACTUAL ALLEGATIONS
         22.      In 1988, members of the United States Senate warned that records of consumers’

 purchases and rentals of audiovisual and publication materials offer “a window into our loves,

 likes, and dislikes,” and that “the trail of information generated by every transaction that is now

 recorded and stored in sophisticated record-keeping systems is a new, more subtle and pervasive

 form of surveillance.” S. Rep. No. 100-599 at 7–8 (1988) (statements of Sens. Simon and Leahy,

 respectively).

         ANSWER:             Informa lacks information sufficient to form a belief about the truth of the

 allegations in this paragraph, and therefore denies them. S. Rep. No. 100-599 at 7–8 (1988) speaks

 for itself. To the extent the allegations state a legal conclusion, no response is required.

         23.      Recognizing the need to further protect its citizens’ privacy rights, Michigan’s

 legislature enacted the PPPA to protect “privacy with respect to the purchase, rental, or borrowing

 of certain materials,” by prohibiting companies from disclosing certain types of sensitive consumer

 information. H.B. No. 5331, 1988 Mich. Legis. Serv. 378 (West).

         ANSWER:             Informa admits that the PPPA was enacted as a privacy statute. Informa

 disputes that the statute applies to “certain types of sensitive consumer information.” To the extent

 the allegations state a legal conclusion, no response is required. Otherwise, denied.

         24.      Subsection 2 of the PPPA states:

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                 [A]     person, or an employee or agent of the person,
                 engaged in the business of selling at retail, renting, or
                 lending books or other written materials . . . shall not
                 disclose to any person, other than the customer, a record
                 or information concerning the purchase . . . of those
                 materials by a customer that indicates the identity of the
                 customer.
 PPPA § 2 (emphasis added).

         ANSWER:             The allegations in this paragraph state a legal conclusion to which no response

 is required. Informa further states that the PPPA speaks for itself and respectfully refers the court to

 the same.

         25.     Michigan’s protection of reading information reflects the “gut feeling that people

 ought to be able to read books and watch films without the whole world knowing,” and recognizes

 that “[b]ooks and films are the intellectual vitamins that fuel the growth of individual thought. The

 whole process of intellectual growth is one of privacy—of quiet, and reflection. This intimate

 process should be protected from the disruptive intrusion of a roving eye.” S. Rep. No. 100–599,

 at 6 (Statement of Rep. McCandless).

         ANSWER:             Informa admits only that this paragraph purports to recite a quote from S. Rep.
 No. 100–599, and respectfully refers the court to same for the complete record, context and

 applicability to this case. Informa denies that there have been any privacy violations or that the

 statement is otherwise applicable to the facts of this case and denies each and every other allegation
 in this paragraph.

         26.     As Senator Patrick Leahy recognized in proposing the Video and Library Privacy

 Protection Act (later codified as the Video Privacy Protection Act, 18 U.S.C. § 2710), “[i]n

 practical terms our right to privacy protects the choice of movies that we watch with our family in

 our own homes. And it protects the selection of books that we choose to read.” 134 Cong. Rec.

 S5399 (May 10, 1988).

         ANSWER:             Informa admits only that this paragraph purports to recite a quote from 134

 Cong. Rec. S5399 (May 10, 1988), and respectfully refers the court to same for the complete record,



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 context and applicability to this case. Informa denies that there have been any privacy violations or

 that the statement is otherwise applicable to the facts of this case and denies each and every other

 allegation in this paragraph.

         27.     Senator Leahy also explained why choices in movies and reading materials are so

 private: “These activities . . . reveal our likes and dislikes, our interests and our whims. They say

 a great deal about our dreams and ambitions, our fears and our hopes.                  They reflect our

 individuality, and they describe us as people.” Id.

         ANSWER:             Informa lacks information sufficient to form a belief about the truth of the
 reasons behind Senator Leahy’s purported statements, or what they refer to, and thus the allegations

 in this paragraph are denied as phrased. To the extent the allegations state a legal conclusion, no

 response is required.

         28.     Michigan’s passage of the PPPA also established as a matter of law “that a person’s

 choice in reading, music, and video entertainment is a private matter, and not a fit subject for

 consideration by gossipy publications, employers, clubs, or anyone else for that matter.” Privacy:

 Sales, Rentals of Videos, etc., House Legislative Analysis Section, H.B. No. 5331, Jan. 20, 1989

 (attached hereto as Exhibit J).

         ANSWER:             Informa denies that the PPPA establishes the quoted principle “as a matter of

 law.” To the extent the allegations state a legal conclusion, no response is required.

         29.     Despite the fact that thousands of Michigan residents subscribe to Informa’s

 publications, Informa disregarded its legal responsibility by systematically violating the PPPA.

         ANSWER:             Informa denies each and every allegation contained in this paragraph.

                               THE PRIVATE INFORMATION MARKET:
                         CONSUMERS’ PRIVATE INFORMATION HAS REAL VALUE

         30.     In 2001, Federal Trade Commission (“FTC”) Commissioner Orson Swindle

 remarked that “the digital revolution . . . has given an enormous capacity to the acts of collecting




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 and transmitting and flowing of information, unlike anything we’ve ever seen in our lifetimes . . .

 [and] individuals are concerned about being defined by the existing data on themselves.”3

         ANSWER:             Informa lacks information sufficient to form a belief about the authenticity or

 truth of the allegations in this paragraph, and therefore denies them.

         31.     More than a decade later, Commissioner Swindle’s comments ring truer than ever,

 as consumer data feeds an information marketplace that supports a $26 billion dollar per year

 online advertising industry in the United States.4

         ANSWER:             Informa denies the conclusory allegation in this paragraph, which is an
 opinion, and also denies that Exhibit L supports such allegation.

         32.     The FTC has also recognized that consumer data possesses inherent monetary value

 within the new information marketplace and publicly stated that:
                 Most consumers cannot begin to comprehend the types and
                 amount of information collected by businesses, or why
                 their information may be commercially valuable. Data is
                 currency. The larger the data set, the greater potential for
                 analysis—and profit.5
         ANSWER:             Informa lacks information sufficient to form a belief about the truth of the

 allegations in this paragraph, and the conclusions drawn therein, including with respect to Exhibit M,

 and therefore denies them.

         33.     In fact, an entire industry exists while [sic] companies known as data aggregators

 purchase, trade, and collect massive databases of information about consumers. Data aggregators



 3        Exhibit K, The Information Marketplace: Merging and Exchanging Consumer Data (Mar.
 13, 2001), at 8:15-11:16, available at https://www.ftc.gov/sites/default/files/documents/
 public_events/information-marketplace-merging-and-exchanging-consumer-data/transcript.pdf
 (last visited July 30, 2021).
 4       See Exhibit L, Web’s Hot New Commodity: Privacy, WSJ (Feb. 28, 2011),
 http://online.wsj.com/article/SB10001424052748703529004576160764037920274.html (last
 visited July 30, 2021).
 5      Exhibit M, Statement of FTC Commissioner Pamela Jones Harbour (Dec. 7, 2009), at 2,
 available at https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-
 exploring-privacy-roundtable/091207privacyroundtable.pdf (last visited July 30, 2021).


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 then profit by selling this “extraordinarily intrusive” information in an open and largely

 unregulated market.6

         ANSWER:             Informa lacks information sufficient to form a belief about the truth of the

 allegations in this paragraph, and the conclusions drawn therein, including with respect to Exhibit N,

 and therefore denies them.

         34.     The scope of data aggregators’ knowledge about consumers is immense: “If you

 are an American adult, the odds are that [they] know[] things like your age, race, sex, weight,

 height, marital status, education level, politics, buying habits, household health worries, vacation

 dreams—and on and on.”7
         ANSWER:             Informa lacks information sufficient to form a belief about the truth of the

 allegations in this paragraph, and the conclusions drawn therein, including with respect to Exhibit O,

 and therefore denies them.

         35.     Further, “[a]s use of the Internet has grown, the data broker industry has already

 evolved to take advantage of the increasingly specific pieces of information about consumers that

 are now available.”8

         ANSWER:             Informa lacks information sufficient to form a belief about the truth of the

 allegations in this paragraph, and the conclusions drawn therein, including with respect to Exhibit P,

 and therefore denies them.




 6      See Exhibit N, Martha C. White, Big Data Knows What You ‘re Doing Right Now,
 TIME.com (July 31, 2012), http://moneyland.time.com/2012/07/31/big-data-knows-what-youre-
 doing-right-now/ (last visited July 30, 2021).
 7     Exhibit O, Natasha Singer, You for Sale: Mapping, and Sharing, the Consumer Genome,
 N.Y. Times (June 16, 2012), available at https://www.immagic.com/eLibrary/ARCHIVES/
 GENERAL/GENPRESS/N120616S.pdf (last visited July 30, 2021).
 8       Exhibit P, Letter from Senator John D. Rockefeller IV, Chairman, Senate Committee on
 Commerce, Science, and Transportation, to Scott E. Howe, Chief Executive Officer, Acxiom
 (Oct. 9, 2012) available at http://www.commerce.senate.gov/public/?a=Files.Serve&File_id=
 3bb94703-5ac8-4157-a97b-a658c3c3061c (last visited July 30, 2021).


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         36.     Recognizing the serious threat the data mining industry poses to consumers’

 privacy, on July 25, 2012, the co-Chairmen of the Congressional Bi- Partisan Privacy Caucus sent

 a letter to nine major data brokerage companies seeking information on how those companies

 collect, store, and sell their massive collections of consumer data.9

         ANSWER:             Informa lacks information sufficient to form a belief about the truth of the

 allegations in this paragraph, and the conclusions drawn therein, including with respect to Exhibit Q,

 and therefore denies them.

         37.     In their letter, the co-Chairmen recognized that “[b]y combining data from

 numerous offline and online sources, data brokers have developed hidden dossiers on every U.S.

 consumer,” which “raises a number of serious privacy concerns.”10
         ANSWER:             Informa lacks information sufficient to form a belief about the truth of the

 allegations in this paragraph, and the conclusions drawn therein, including with respect to Exhibit Q,

 and therefore denies them.

         38.     Data aggregation is especially troublesome when consumer information is sold to

 direct-mail advertisers. In addition to causing waste and inconvenience, direct-mail advertisers

 often use consumer information to lure unsuspecting consumers into various scams,11 including

 fraudulent sweepstakes, charities, and buying clubs. Thus, when companies like Informa share

 information with data aggregators, data cooperatives, and direct-mail advertisers, they contribute

 to the “[v]ast databases” of consumer data that are often “sold to thieves by large publicly traded




 9       See Exhibit Q, Bipartisan Group of Lawmakers Query Data Brokers About Practices
 Involving Consumers’ Personal Information, Website of Senator Ed Markey (July 24, 2012),
 http://www.markey.senate.gov/news/press-releases/bipartisan-group-of-lawmakers-query-data-
 brokers-about-practices-involving-consumers-personal-information (last visited July 30, 2021).
 10      Id.
 11      See    Exhibit     R,       Prize     Scams,      Federal       Trade       Commission,
 http://www.consumer.ftc.gov/articles/0199-prize-scams (last visited July 30, 2021).


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 companies,” which “put[s] almost anyone within the reach of fraudulent telemarketers” and other

 criminals.12

         ANSWER:             Informa lacks information sufficient to form a belief about the truth of the

 allegations in this paragraph, and the conclusions drawn therein, including with respect to Exhibits R

 and S, and therefore denies them. Informa specifically denies the allegations about Informa’s

 supposed data sharing practices.

         39.       Information disclosures like those made by Informa are particularly dangerous to

 the elderly. “Older Americans are perfect telemarketing customers, analysts say, because they are

 often at home, rely on delivery services, and are lonely for the companionship that telephone

 callers provide.”13 The FTC notes that “[t]he elderly often are the deliberate targets of fraudulent
 telemarketers who take advantage of the fact that many older people have cash reserves or other

 assets to spend on seemingly attractive offers.”14 Indeed, an entire black market exists where the

 private information of vulnerable elderly Americans is exchanged.

         ANSWER:             Denied.

         40.       Thus, information disclosures like Informa’s are particularly troublesome because

 of their cascading nature: “Once marked as receptive to [a specific] type of spam, a consumer is

 often bombarded with similar fraudulent offers from a host of scam artists.”15

         ANSWER:             Denied.

         41.       Informa is not alone in jeopardizing its subscribers’ privacy and well-being in

 exchange for increased revenue: disclosing subscriber information to data aggregators, data

 12     Exhibit S, Charles Duhigg, Bilking the Elderly, With a Corporate Assist, N.Y. Times (May
 20, 2007), available at http://www.nytimes.com/2007/05/20/business/20tele.html (last visited July
 30, 2021).
 13      Id.
 14      Exhibit T, Fraud Against Seniors: Hearing before the Senate Special Committee on Aging
 (August 10, 2000) (prepared statement of the FTC), available at https://www.ftc.gov/sites/default/
 files/documents/public_statements/prepared-statement-federal-trade-commission-fraud-against-
 seniors/agingtestimony.pdf (last visited July 30, 2021).
 15      See id.


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 appenders, data cooperatives, direct marketers, and other third parties is a widespread practice in

 the publishing industry.

         ANSWER:             Denied.

         42.     Thus, as consumer data has become an ever-more valuable commodity, the data

 mining industry has experienced rapid and massive growth. Unfortunately for consumers, this

 growth has come at the expense of their most basic privacy rights.

         ANSWER:             Informa lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in this paragraph, and the conclusions drawn therein, and therefore denies

 them.
                    CONSUMERS PLACE MONETARY VALUE ON THEIR PRIVACY AND
                     CONSIDER PRIVACY PRACTICES WHEN MAKING PURCHASES

         43.     As the data aggregation and cooperative industry has grown, so too have consumer

 concerns regarding the privacy of their information.

         ANSWER:             Informa lacks knowledge or information sufficient to form a belief about the
 truth of the allegations in this paragraph, and the conclusions drawn therein, and therefore denies

 them.

         44.     A recent survey conducted by Harris Interactive on behalf of TRUSTe, Inc. showed

 that 89 percent of consumers polled avoid doing business with companies who they believe do not
 protect their privacy online.16 As a result, 81 percent of smartphone users polled said that they

 avoid using smartphone apps that they don’t believe protect their privacy online.17

         ANSWER:             Informa lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in this paragraph, and the conclusions drawn therein, including with respect to

 Exhibit U, and therefore denies them.



 16       See Exhibit U, 2014 TRUSTe US Consumer Confidence Privacy Report, TRUSTe,
 http://www.theagitator.net/wp-content/uploads/012714_ConsumerConfidence Report_US1.pdf
 (last visited July 30, 2021).
 17      Id.


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         45.     Thus, as consumer privacy concerns grow, consumers are increasingly

 incorporating privacy concerns and values into their purchasing decisions and companies viewed

 as having weaker privacy protections are forced to offer greater value elsewhere (through better

 quality and/or lower prices) than their privacy-protective competitors.

         ANSWER:             Informa lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in this paragraph, and the conclusions drawn therein, and therefore denies

 them.

         46.     In fact, consumers’ private information has become such a valuable commodity that

 companies are beginning to offer individuals the opportunity to sell their information themselves.18
         ANSWER:             Informa lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in this paragraph, and the conclusions drawn therein, including with respect to

 Exhibit V, and therefore denies them.

         47.     These companies’ business models capitalize on a fundamental tenet underlying

 the consumer information marketplace: consumers recognize the economic value of their private

 data. Research shows that consumers are willing to pay a premium to purchase services from

 companies that adhere to more stringent policies of protecting their data.19

         ANSWER:             Informa lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in this paragraph, and the conclusions drawn therein, including with respect to

 Exhibit W, and therefore denies them.




 18     See Exhibit V, Joshua Brustein, Start-Ups Seek to Help Users Put a Price on Their
 Personal Data, N.Y. Times (Feb. 12, 2012), available at http://www.nytimes.com/2012/02/13/
 technology/start-ups-aim-to-help-users-put-a- price-on-their-personal-data.html (last visited July
 30, 2021).
 19     See Exhibit W, Tsai, Cranor, Acquisti, and Egelman, The Effect of Online Privacy
 Information on Purchasing Behavior, 22(2) Information Systems Research 254, 254 (2011),
 discussed in European Network and Information Security Agency, Study on monetising privacy
 (Feb. 27, 2012), available at https://www.enisa.europa.eu/activities/identity-and-trust/library/
 deliverables/monetising-privacy (last visited July 30, 2021).


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         48.     Thus, in today’s economy, individuals and businesses alike place a real,

quantifiable value on consumer data and corresponding privacy rights.20

         ANSWER:             Informa lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in this paragraph, and the conclusions drawn therein, including with respect to

 Exhibit X, and therefore denies them.

                     INFORMA UNLAWFULLY RENTS, EXCHANGES, AND DISCLOSES
                         ITS CUSTOMERS’ PRIVATE READING INFORMATION

         49.     Informa maintains a vast digital database comprised of its customers’ Private

 Reading Information. Informa discloses its customers’ Private Reading Information to data

 aggregators and appenders, who then supplement that information with additional sensitive private

 information about each Informa customer, including his or her job title, number of employees,

 livestock type, sales volume, and farm annual income. (See, e.g., Ex. A).

 ANSWER:         This paragraph states legal conclusions to which no response is required. To the

 extent a response is required, Informa denies each and every allegation in this paragraph.

         50.     Informa then rents and/or exchanges its mailing lists—which include subscribers’

 Private Reading Information identifying which individuals purchased subscriptions to particular

 magazines, and can include the sensitive information obtained from data aggregators and

 appenders—to other data aggregators and appenders, other consumer-facing businesses, non-profit

 organizations seeking to raise awareness and solicit donations, and to political organizations

 soliciting donations, votes, and volunteer efforts. (See Ex. A).

         ANSWER:             This paragraph states legal conclusions to which no response is required. To

 the extent a response is required, Informa denies each and every allegation in this paragraph.


 20      See Exhibit X, Hann, et al., The Value of Online Information Privacy: An Empirical
 Investigation (Oct. 2003) at 2, available at http://citeseerx.ist.psu.edu/viewdoc/download?doi=
 10.1.1.321.6125&rep=rep1&type=pdf (last visited July 30, 2021) (“The real policy issue is not
 whether consumers value online privacy. It is obvious that people value online privacy.”).


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         51.     Informa also discloses its customers’ Private Reading Information to data

 cooperatives, who in turn give Informa access to their own mailing list databases.

         ANSWER:             This paragraph states legal conclusions to which no response is required. To

 the extent a response is required, Informa denies each and every allegation in this paragraph.

         52.     As a result of Informa’s data compiling and sharing practices, companies can

 purchase and/or obtain mailing lists from Informa that identify Informa’s customers by their most

 intimate details such as their job title, number of employees, livestock type, sales volume, and farm

 annual income. Informa’s disclosures of such sensitive and private information puts consumers,

 especially the more vulnerable members of society, at risk of serious harm from scammers.

         ANSWER:             This paragraph states legal conclusions to which no response is required. To
 the extent a response is required, Informa lacks information sufficient to form a belief about what

 other companies do, and therefore denies those allegations. Informa denies each and every other

 allegation in this paragraph.

         53.     Informa does not seek its customers’ prior consent, written or otherwise, to any of

 these disclosures and its customers remain unaware that their Private Reading Information and

 other sensitive information is being rented and exchanged on the open market.

         ANSWER:             This paragraph states legal conclusions to which no response is required. To

 the extent a response is required, Informa denies each and every allegation in this paragraph.

         54.     During the relevant pre-July 31, 2016 time period, consumers purchased

 subscriptions to Informa’s publications through numerous media outlets, including the Internet,

 telephone, or traditional mail. Regardless of how the consumer subscribed, Informa never required

 the individual to read or affirmatively agree to any terms of service, privacy policy, or information-

 sharing policy during the relevant pre-July 31, 2016 time period. Consequently, during the

 relevant pre- July 31, 2016 time period, Informa uniformly failed to obtain any form of consent

 from – or even provide effective notice to – its customers before disclosing their Private Reading

 Information.



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         ANSWER:             This paragraph states legal conclusions to which no response is required. To

 the extent a response is required, Informa admits only that it offers subscriptions through various

 channels. Except as specifically admitted, Informa denies each and every other allegation in this

 paragraph.

         55.     As a result, Informa disclosed its customers’ Private Reading Information –

 including their reading habits and preferences that can “reveal intimate facts about our lives, from

 our political and religious beliefs to our health concerns”21 – to anybody willing to pay for it

         ANSWER:             Denied.
         56.     By and through these actions, Informa has intentionally disclosed to third parties

 its Michigan customers’ Private Reading Information without consent, in direct violation of the

 PPPA.

         ANSWER:             This paragraph states legal conclusions to which no response is required. To

 the extent a response is required, Informa denies each and every allegation in this paragraph.

                                    CLASS ACTION ALLEGATIONS

         57.     Plaintiff seeks to represent a class defined as all Michigan residents who, at any

 point during the relevant pre-July 31, 2016 time period, had their Private Reading Information

 disclosed to third parties by Informa without consent (the “Class”). Excluded from the Class is

 any entity in which Defendant has a controlling interest, and officers or directors of Defendant.

         ANSWER:             Informa admits that Plaintiff purports to certify a class as defined in this

 paragraph and seeks to exclude certain categories of individuals, but denies that such classes exist as

 to Informa or are otherwise certifiable.

         58.     Members of the Class are so numerous that their individual joinder herein is

 impracticable. On information and belief, members of the Class number in the thousands. The

 precise number of Class members and their identities are unknown to Plaintiff at this time but may


 21     Exhibit Y, California’s Reader Privacy Act Signed into Law, Electronic Frontier
 Foundation (Oct. 3, 2011), https://www.eff.org/press/archives/2011/10/03 (last visited July 30,
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 be determined through discovery. Class members may be notified of the pendency of this action

 by mail and/or publication through the distribution records of Defendant.

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To

 the extent Plaintiff’s allegations are contrary to law or require a response, denied.

         59.     Common questions of law and fact exist as to all Class members and predominate

 over questions affecting only individual Class members. Common legal and factual questions

 include, but are not limited to: (a) whether Informa is a “retailer or distributor” of publications

 (i.e., magazines); (b) whether Informa obtained consent before disclosing to third parties Plaintiff’s

 and the Class’s Private Reading Information; and (c) whether Informa’s disclosure of Plaintiff’s

 and the Class’s Private Reading Information violated the PPPA.

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To
 the extent Plaintiff’s allegations are contrary to law or require a response, denied.

         60.     The claims of the named Plaintiff are typical of the claims of the Class in that the

 named Plaintiff and the Class suffered invasions of their statutorily protected right to privacy (as

 afforded by the PPPA) as a result of Defendant’s uniform wrongful conduct, based upon

 Defendant’s disclosure of Plaintiff’s and the Class’s Private Reading Information.

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To

 the extent Plaintiff’s allegations are contrary to law or require a response, denied.

         61.     Plaintiff is an adequate representative of the Class because his interests do not

 conflict with the interests of the Class members he seeks to represent, he has retained competent

 counsel experienced in prosecuting class actions, and he intends to prosecute this action

 vigorously. The interests of Class members will be fairly and adequately protected by Plaintiff

 and his counsel.

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To

 the extent Plaintiff’s allegations are contrary to law or require a response, denied.

         62.     The class mechanism is superior to other available means for the fair and efficient

 adjudication of the claims of Class members. Each individual Class member may lack the

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 resources to undergo the burden and expense of individual prosecution of the complex and

 extensive litigation necessary to establish Defendant’s liability. Individualized litigation increases

 the delay and expense to all parties and multiplies the burden on the judicial system presented by

 the complex legal and factual issues of this case. Individualized litigation also presents a potential

 for inconsistent or contradictory judgments. In contrast, the class action device presents far fewer

 management difficulties and provides the benefits of single adjudication, economy of scale, and

 comprehensive supervision by a single court on the issue of Defendant’s liability. Class treatment

 of the liability issues will ensure that all claims and claimants are before this Court for consistent
 adjudication of the liability issues.

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To

 the extent Plaintiff’s allegations are contrary to law or require a response, denied.

                                            CAUSE OF ACTION

                   Violation of Michigan’s Preservation of Personal Privacy Act

                                               (PPPA § 2)
         63.     Plaintiff repeats the allegations contained in the foregoing paragraphs as if fully
 set forth herein.
         ANSWER:             Informa repeats and re-alleges the responses to paragraphs one (1) through

 sixty-two (62) of this Complaint as though fully set forth herein.

         64.     Plaintiff brings this claim individually and on behalf of members of the Class
 against Defendant Informa.

         ANSWER:             Informa admits that Plaintiff purports to bring this claim individually and on

 behalf of the members of the class but denies that the case is certifiable.

         65.     As a magazine publisher that sells subscriptions to consumers, Informa is engaged

 in the business of selling written materials at retail. See PPPA § 2.

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To

 the extent Plaintiff’s allegations are contrary to law or require a response, Informa denies them.




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         66.     By purchasing a subscription to Michigan Farmer magazine, Plaintiff purchased

 written materials directly from Informa. See PPPA § 2.

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To

 the extent Plaintiff’s allegations are contrary to law or require a response, Informa denies them.

         67.     Because Plaintiff purchased written materials directly from Informa, he is a

 “customer” within the meaning of the PPPA. See PPPA § 1.

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To

 the extent Plaintiff’s allegations are contrary to law or require a response, Informa denies them.

         68.     At various times during the pre-July 31, 2016 time period, Informa disclosed

 Plaintiff’s Private Reading Information, which identified him as a Michigan Farmer customer, in

 at least three ways.

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To
 the extent Plaintiff’s allegations are contrary to law or require a response, Informa denies each and

 every allegation in this paragraph.

         69.     First, Informa disclosed mailing lists containing Plaintiff’s Private Reading

 Information to data aggregators and data appenders, who then supplemented the mailing lists with

 additional sensitive information from their own databases, before sending the mailing lists back to

 Informa.

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To

 the extent Plaintiff’s allegations are contrary to law or require a response, Informa denies each and

 every allegation in this paragraph.

         70.     Second, Informa disclosed mailing lists containing Plaintiff’s Private Reading

 Information to data cooperatives, who in turn gave Informa access to their own mailing list

 databases.

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To

 the extent Plaintiff’s allegations are contrary to law or require a response, Informa denies each and

 every allegation in this paragraph.

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         71.     Third, Informa rented and/or exchanged its mailing lists containing Plaintiff’s

 Private Reading Information—enhanced with additional information from data aggregators and

 appenders—to third parties, including other consumer- facing companies, direct-mail advertisers,

 and organizations soliciting monetary contributions, volunteer work, and votes.

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To

 the extent Plaintiff’s allegations are contrary to law or require a response, Informa denies each and

 every allegation in this paragraph.

         72.     Because the mailing lists included the additional information from the data

 aggregators and appenders, the lists were more valuable, and Informa was able to increase its

 profits gained from the mailing list rentals and/or exchanges.

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To
 the extent Plaintiff’s allegations are contrary to law or require a response, Informa denies each and

 every allegation in this paragraph.

         73.     By renting, exchanging, or otherwise disclosing its customer lists, during the

 relevant pre-July 31, 2016 time period, Informa disclosed to persons other than Plaintiff records

 or information concerning his purchase of written materials from Informa. See PPPA § 2.

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To

 the extent Plaintiff’s allegations are contrary to law or require a response, Informa denies them.

         74.     The information Informa disclosed indicates Plaintiff’s name and address, as well

 as the fact that he subscribed to Michigan Farmer. Accordingly, the records or information

 disclosed by Informa indicated Plaintiff’s identity. See PPPA § 2.

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To

 the extent Plaintiff’s allegations are contrary to law or require a response, Informa denies each and

 every allegation in this paragraph.

         75.     Plaintiff and the members of the Class never consented to Informa disclosing their

 Private Reading Information to anyone.



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         ANSWER:             This paragraph states a legal conclusion to which no response is required. To

 the extent Plaintiff’s allegations are contrary to law or require a response, Informa denies each and

 every allegation in this paragraph.

         76.      Worse yet, Plaintiff and the members of the Class did not receive notice before

 Informa disclosed their Private Reading Information to third parties.

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To

 the extent Plaintiff’s allegations are contrary to law or require a response, Informa denies each and

 every allegation in this paragraph.

         77.      Informa’s disclosures of Plaintiff’s and the Class’s Private Reading Information

 during the relevant pre-July 31, 2016 time period were not made pursuant to a court order, search

 warrant, or grand jury subpoena.

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To
 the extent Plaintiff’s allegations are contrary to law or require a response, Informa lacks knowledge

 or information sufficient to form a belief as to the truth of the allegations in this paragraph, and

 therefore denies them.

         78.      Informa’s disclosures of Plaintiff’s and the Class’s Private Reading Information

 during the relevant pre-July 31, 2016 time period were not made to collect payment for their

 subscriptions.

         ANSWER:             Informa lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations in this paragraph, and therefore denies them.

         79.      Informa’s disclosures of Plaintiff’s Private Reading Information during the relevant

 pre-July 31, 2016 time period were made to data aggregators, data appenders, data cooperatives,

 direct-mail advertisers, and organizations soliciting monetary contributions, volunteer work, and

 votes—all in order to increase Informa’s revenue. Accordingly, Informa’s disclosures were not

 made for the exclusive purpose of marketing goods and services directly to Plaintiff and the

 members of the Class.



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         ANSWER:             This paragraph states a legal conclusion to which no response is required. To

 the extent Plaintiff’s allegations are contrary to law or require a response, Informa denies each and

 every allegation in this paragraph.

         80.     By disclosing Plaintiff’s and the Class’s Private Reading Information during the

 relevant pre-July 31, 2016 time period, Informa violated Plaintiff’s and the Class’s statutorily

 protected right to privacy in their reading habits. See PPPA § 2.

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To

 the extent Plaintiff’s allegations are contrary to law or require a response, Informa denies them.

         81.     As a result of Informa’s unlawful disclosure of their Private Reading Information,

 Plaintiff and the members of the Class have suffered invasions of their statutorily protected right

 to privacy (afforded by the PPPA). On behalf of himself and the Class, Plaintiff seeks: (1)

 $5,000.00 to Plaintiff and each Class member pursuant to PPPA § 5(a); and (2) costs and

 reasonable attorneys’ fees pursuant to PPPA § 5(b).

         ANSWER:             This paragraph states a legal conclusion to which no response is required. To
 the extent Plaintiff’s allegations are contrary to law or require a response, Informa admits that Plaintiff

 seeks the relief sought in this Paragraph, but specifically denies that Plaintiff is entitled to such relief.

 Informa denies each and every remaining allegation in this paragraph.

                                          PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

 judgment against Defendant as follows:

         A.      For an order certifying the Class under Rule 23 of the Federal Rules of Civil
                 Procedure and naming Plaintiff as representative of the Class and Plaintiff’s
                 attorneys as Class Counsel to represent the Class;

         B.      For an order declaring that Defendant’s conduct as described herein violated the
                 Preservation of Personal Privacy Act;

         C.      For an order finding in favor of Plaintiff and the Class on all counts asserted
                 herein;



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         D.         For an award of $5,000 to Plaintiff and each Class member, as provided by the
                    Preservation of Personal Privacy Act, PPPA § 5(a);

         E.         For prejudgment interest on all amounts awarded; and

         F.         For an order awarding Plaintiff and the Class their reasonable attorneys’ fees and
                    expenses and costs of suit.

         ANSWER:             Informa admits that Plaintiff is seeking the relief referenced in this paragraph,

 but denies that the requested relief is appropriate. Informa denies every other allegation in this

 paragraph.

                                               JURY DEMAND
         Plaintiff demands a trial by jury on all causes of action and issues so triable.

         ANSWER:             Informa admits that Plaintiff has made a jury demand, but lacks knowledge or

 information sufficient to form a belief as to whether the jury demand is appropriate, and thus denies

 the allegations.

                                        AFFIRMATIVE DEFENSES

         As for additional defenses to the Complaint, and without assuming any burden of pleading

 or proof that would otherwise rest on Plaintiff, and reserving the right to amend this Answer to

 assert any additional defenses when, and if, in the course of its investigation, discovery,

 preparation for trial, or otherwise, it becomes apparent to assert such defenses, Informa alleges the

 following affirmative defenses:

                                    FIRST AFFIRMATIVE DEFENSE

         Plaintiff and the members of the putative class’s claims are barred, in whole or in part, by

 the applicable statute of limitations. Among other things, the claims are time-barred based upon

 the stipulated dismissal, without prejudice, of a preceding putative class action. See DelValle v.




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 Informa Media, Inc, No. 22-00132 (W.D. Mich). See also China Agritech, Inc. v. Resh, 138 S. Ct.

 1800, 1806 (2018).22


                                SECOND AFFIRMATIVE DEFENSE

         Any alleged injury or damage sustained by Plaintiff or members of the putative classes

 were caused, in whole or in part, by the conduct of third parties who were not acting as Informa’s

 agents and/or that was not ratified by Informa. In particular, NextMark and other list brokers could

 have obtained class lists without authorization and/or shared them with direct marketers without

 authorization.

                                THIRD AFFIRMATIVE DEFENSE

         Plaintiff acted in bad faith and with unclean hands based on all relevant facts, law, and

 circumstances known by Plaintiff. Accordingly, the claims are barred, in whole or in part, from

 any recovery in this action.

                                FOURTH AFFIRMATIVE DEFENSE

         Plaintiff and members of the putative class have waived their right to recover herein, in

 whole or in part, and/or their claims are barred by estoppel.

                                FIFTH AFFIRMATIVE DEFENSE

         Plaintiff and members of the putative class’s claims are barred because there was notice

 and/or consent to disclose under the PPPA. Informa provided notice and an opportunity to opt

 out of data sharing for marketing purposes in its various consumer-facing forms including its

 applicable privacy policies. Plaintiff also assumed the risks for these same reasons.




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   Defendant is aware that this Court has concluded that a six-year statute of limitations applies in
 an unrelated PPPA matter but does not concede that issue. See Krassick v. Archaeological Ins. of
 Am., 2022 WL 2071730, at *1 (W.D. Mich. June 9, 2022) (Jarbou, J.).

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                               SIXTH AFFIRMATIVE DEFENSE

         The statutory penalties sought by Plaintiff and members of the putative classes are

 excessive and thus violate the Due Process Clause of the United States Constitution. In particular,

 due process limits aggregate statutory damages in class actions and the Michigan legislature

 recognized the due process concerns when it amended the statute to remove statutory damages in

 July 2016.

                             SEVENTH AFFIRMATIVE DEFENSE

         Plaintiff and members of the putative class’s claims are barred because they failed to

 mitigate damages by failing to opt-out of direct marketing.

                              EIGHTH AFFIRMATIVE DEFENSE

         Plaintiff and the members of the putative class’s claims are barred by the doctrine of

 laches. Plaintiff and putative class members have delayed in asserting their rights, well passed

 the previously recognized statute of limitations, and such delay has caused Informa to no longer

 possess potentially relevant documents and evidence.

                                      PRAYER FOR RELIEF

         WHEREFORE, Informa denies that Plaintiff is entitled to any of the relief sought, and

 denies that any class can be certified in this action. Informa requests that the Court:

         1.      Dismiss this action with prejudice;

         2.      Enter judgment for Informa;

         3.      Dismiss the class claims;

         4.      Award Informa its costs, expenses, and attorney’s fees incurred in defending this

 action; and

         5.      Grant such other and further relief as the Court deems just and proper.



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 DATED: July 24, 2023           Respectfully submitted,

                                BLANK ROME LLP

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on July 24, 2023, I caused the foregoing to be electronically filed with

 the Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

 attorneys or parties of record.



                                           By: /s/ Ana Tagvoryan
                                                   Ana Tagvoryan




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